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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


______________________________
                              )
DARIO OSORIO-NORENA,          )
                              )
               Petitioner     )
                              )
          v.                  )              CIVIL ACTION
                              )              NO. 09-10069-RCL
UNITED STATES OF AMERICA,     )
                              )
               Respondent     )
______________________________)

                       MEMORANDUM OF DECISION

YOUNG, D.J.                                         September 24, 2009


I.   Introduction

     Dario Osorio-Norena (“Osorio” or “Petitioner”) proceeding

pro se, has moved to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255.     Pet’r Mot. [Doc. No. 759].

Osorio pled guilty to one count of conspiracy to distribute five

or more kilograms of cocaine in violation of 21 U.S.C. § 846, and

one count of conspiracy to launder drug proceeds in violation of

18 U.S.C. § 1956(h).    Osorio also tendered an Alford1 plea to one

count of distribution of five or more kilograms of cocaine in


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      Pursuant to North Carolina v. Alford, 400 U.S. 25 (1970), a
defendant entering an Alford guilty plea is not required to admit
guilt but may “voluntarily, knowingly, and understandingly
consent to the imposition of a prison sentence even if he is
unwilling or unable to admit his participation in the acts
constituting the crime.” United States v. Bierd, 217 F.3d 15, 17
n.1 (1st Cir. 2000) (quoting Alford, 400 U.S. at 37).

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violation of 21 U.S.C. § 841(a)(1).

      In his present motion, Osorio seeks relief under the

provisions of 28 U.S.C. § 2255, claiming he received ineffective

assistance of counsel based on his counsel’s alleged failure to:

1) subpoena alibi and rebuttal witnesses; 2) permit or prepare

Osorio to testify on his own behalf during the evidentiary

hearing before sentencing; 3) move to strike the leadership

aggravating factor in the fourth superseding indictment; 4)

inform Osorio of the potential fine at the time of the sentencing

hearing; and 6) request downward departures from the range

provided by the sentencing guidelines.        Additionally, Osorio

claims that his plea itself was involuntary; he asserts that he

pled guilty under pressure from other co-conspirators and in

response to defense counsel’s promise of a plea agreement with

the government for a reduced sentence.

II.   Background

      On August 25, 2004, a federal grand jury returned a fourth

superseding indictment against Osorio and his co-defendant, Jhon

Jairo Arango (“Arango”), charging each of them with three counts:

conspiracy to distribute five or more kilograms of cocaine, in

violation of 21 U.S.C. § 846 (Count One); conspiracy to launder

drug proceeds, in violation of 18 U.S.C. § 1956(h) (Count Two);

and distribution of five or more kilograms of cocaine, in

violation of 21 U.S.C. § 841(a)(1) (Count Three).          United States


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v. Arango, 508 F.3d 34, 36 (1st Cir. 2007).

     A jury trial was scheduled to begin on March 21, 2005.            That

morning, Osorio’s defense counsel, Martin Leppo, informed the

Court that his client wished to plead guilty to the first and

second counts, conspiracy to distribute cocaine and conspiracy to

launder drug proceeds, but enter an Alford plea to the third

count of the indictment, distribution of five or more kilograms

of cocaine.   Change of Plea Hr’g Tr. 5:1-20, Mar. 21, 2005

(“Change of Plea”) [Doc. No. 690.].

     The Court conducted a fourteen-day evidentiary sentencing

hearing to determine the amount of drugs and money attributable

to each defendant.   During the hearing, the government presented

testimony from several law enforcement officers who testified

that Osorio and Arango were arrested and extradited to

Massachusetts from Colombia as part of an investigation that also

led to the indictment of fourteen other co-conspirators.          Two of

the other conspirators were cooperating witnesses who testified

at the hearing, Liliana Cruz (“Cruz”) and Jorge de Jesus Vallejo

Alarcon (“Vallejo”).

     Cruz’s testimony comprised the majority of the evidentiary

hearing.   She testified that she transported drugs from New York

to Massachusetts in 1998 and 1999 on Osorio and Arango’s behalf

as well as laundering money for them in 2000.        Cruz stated she

conveyed cocaine from New York on five separate occasions and


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that each trip was arranged at Osorio’s request.         Arango, 508

F.3d at 37.   She testified that she picked up drugs either in

Queens or in the Bronx.    Id.   During her Queens trips, she called

Osorio upon arriving at the designated location.         Next, the

person delivering the narcotics called her mobile phone.          Id.

She would meet the delivery person, inspect the cocaine quantity,

and transport the cocaine to Massachusetts.        Id.   Once she

arrived, Cruz called Osorio, told him where she had parked, and

left the drugs in the unlocked car.      Id.   The following morning,

the car would be returned to her without the drugs.         Id.     Her

trips from the Bronx had a similar modus operandi.         She left her

unlocked car in a pre-arranged location and returned after the

drugs were placed in the vehicle.       Id.

     Cruz testified that she delivered fifty kilograms of cocaine

on her first trip from Queens to Massachusetts and ten kilograms

on her second trip.    Id. at 38.    On her two trips from the Bronx,

she delivered fifty and twenty-five kilograms, respectively.              On

her fifth trip, she brought an additional fifty kilograms of

cocaine.   Cruz testified that Osorio informed her Arango was the

source of the drugs she obtained in Queens but was not certain

whether her Bronx deliveries were Arango’s as well.         She further

testified that on one trip, Osorio met her in Queens, transferred

fifty kilograms to her, and directed her to transport the drugs

to Massachusetts.   Id.   Cruz attested to Osorio’s involvement in


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a total of 185 kilograms: sixty kilograms picked up in Queens in

two trips; seventy-five kilograms picked up in two trips to the

Bronx; and the fifty additional kilograms that she received

directly from him during her third trip to Queens.         Id.

     Cruz also testified that she transported money from New York

to Massachusetts on three separate occasions, in the amounts of

$500,000, $600,000, and $500,000, respectively.        Id. at 38.       She

stated that each of these trips were made at Osorio and Arango’s

request.   Id.   Cruz stated that she received deliveries of

smaller amounts of money from Alonso Tavarez and two brothers

with the surname Cataño.    Id.   She testified that Arango or

Osorio called her in advance of each money delivery.         Id.       Osorio

and Arango directed her as to the distribution and mailing of

those monies, which together totaled $699,000.        Osorio also

instructed her on how to ship money to Colombia undetected by

hiding it in electronic toys.     Id.   Occasionally, Cruz wired

small amounts of money to Osorio and Arango.        Cruz further

testified that she delivered money to other members of the

conspiracy in the United States at Osorio and Arango’s direction.

She kept records of the amounts of money collected and delivered

to various parties and she retained her shipping receipts until

either Arango or Osorio confirmed receiving the money.           Id.

Cruz’s testimony was corroborated by myriad forms of evidence

including telephone conversations with Osorio and Arango, records


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seized from Cruz’s house after her arrest, as well as testimony

from law enforcement agents and co-conspirator Vallejo.          Id.

      On the last day of the evidentiary hearing, the Court heard

arguments from defense counsel about the sentencing factors,

disputed quantities of narcotics and amounts of money.

Evidentiary Hr’g Tr. 43:12-70:12, May 20, 2005 (“Evidentiary

Hr’g”) [Doc. No. 727].     Osorio’s counsel argued that Osorio’s

role in the offense was merely that of the introducer, and that

he was therefore substantially less responsible for the

narcotics.   Id. at 65:7-66:25.     The Court took a recess and made

findings of fact on the record for the purpose of sentencing.

Id. at 85:11-95:7.

      Having found that Cruz was a credible witness whose

testimony was substantially corroborated, the Court found Osorio

and Arango responsible for at least 67 kilograms of cocaine on

the drug charges, adding together 60 kilograms from the two trips

Cruz made to Queens on defendants’ behalf along with the

additional seven kilograms she purchased from Tavarez, who

received the cocaine from Arango and Osorio.         Arango, 508 F.3d at

38.   The Court also found Osorio and Arango responsible for

laundering $1,800,000 on that charge, calculating the total from

the $500,000 and $600,000 that Cruz testified she retrieved from

New York at defendants’ request in the spring of 2000, plus the

roughly $700,000 that was delivered to her in small amounts by


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the Cataño brothers and Tavarez.       Id. at 38-39.2

     In September 2005, Osorio’s defense counsel filed two

separate sentencing memoranda requesting downward departures.

[Doc. Nos. 671-72].    The first requested a downward departure

under United States Sentencing Guidelines (“Sentencing

Guidelines”) §3E1.1 for sparing the government the burden and

expense of a trial. [Doc. No. 671 at 5].       The second memorandum

requested a downward departure from Category II pursuant to

Sentencing Guidelines § 4A1.3 based on overstated criminal

history.   Osorio’s counsel contended that the defendant’s prior

criminal history arose from a single driving under the influence

incident over thirteen years prior in which no one was injured

and that Osorio completed alcohol and substance abuse counseling.

[Doc. No. 672 at 2].

     Osorio’s sentencing hearing was held on January 30, 2006.

The Court found that Osorio and Arango were equally responsible

and sentenced them each to 262 months in prison, followed by five

years of supervised release.     In addition, the Court imposed a

$2,000,000 fine and a special assessment of $300.

     Osorio and Arango appealed their sentences.        Osorio was

represented by different counsel on appeal.        He claimed that the



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      There was a discrepancy in the total as a result of the
government’s calculation error, however the Court declined to
amend the finding and explained that the correction did not alter
the sentencing guidelines range. Arango, 508 F.3d at 39, n.1.

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district court: (1) improperly based his sentence on facts not

found by the jury beyond a reasonable doubt and, even under the

preponderance-of-the-evidence standard, (2) incorrectly

calculated the quantity of drugs and the amount of laundered

money for which he was held responsible; (3) failed to consider

the 18 U.S.C. § 3553(a) sentencing factors; (4) erred in its

determination whether a fine should be assessed against him; (5)

improperly found that he played a leadership role in the drug

conspiracy; and (6) erred in granting only a two-level reduction

in offense level for sparing the government the burden and

expense of a trial.    Arango, 508 F.3d at 37.      Osorio also claimed

that the government breached an unwritten plea agreement.          Id.

The First Circuit denied all Osorio’s claims and affirmed both

sentences.    Id. at 49.

III. Analysis

     A.      Standard of Review

     Section 2255 of Title 28, United States Code, provides that

a prisoner in custody under sentence of a federal court may move

the court which imposed the sentence to vacate, set aside, or

correct a sentence on the grounds that the sentence was “imposed

in violation of the Constitution or laws of the United States, or

that the court was without jurisdiction to impose such sentence,

or that the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack.”         28 U.S.C. §


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2255.    A petitioner bears the burden of demonstrating by a

preponderance of the evidence that he is entitled to Section 2255

relief.      David v. United States, 134 F.3d 470, 474 (1st Cir.

1998).       Petitioners are also entitled to an evidentiary hearing

“unless the facts alleged are ‘contradicted by the record or are

inherently incredible and to the extent that they are merely

conclusions rather than statements of fact.’” United States v.

Pulido, 566 F.3d 52, 57 (1st Cir. 2009) (quoting           United States

v. Crooker, 729 F.2d 889, 890 (1st Cir. 1984) (internal citation

omitted)).

        B.     Standard for Ineffectiveness of Counsel

        The Supreme Court has held the Sixth Amendment guarantees

criminal defendants the right to effective assistance of counsel.

Strickland v. Washington, 466 U.S. 668, 686 (1984).            Judicial

review of an ineffective assistance claim is highly deferential

and courts must endeavor “to eliminate the distorting effects of

hindsight.”      Id. at 689.   “The Constitution does not guarantee a

defendant a letter-perfect defense or a successful defense;

rather, the performance standard is that of reasonably effective

assistance under the circumstances then obtaining.”            United

States v. Natanel, 938 F.2d 302, 309-310 (1st Cir. 1991).

        Ineffective assistance of counsel claims are evaluated under

the standards set forth in Strickland and its progeny.            To

prevail on an ineffective assistance of counsel claim, a


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petitioner must demonstrate: (1) deficient performance by counsel

that (2) caused prejudice to the petitioner.       Strickland, 466

U.S. at 687.   Counsel may be deemed deficient if it is

demonstrated that the representation falls “below an objective

standard of reasonableness.”     Id. at 688.    In demonstrating the

“deficient performance” element, the petitioner must overcome the

“strong presumption that counsel’s conduct falls within the wide

range of reasonable professional assistance; that is, the

[petitioner] must overcome the presumption that, under the

circumstances, the challenged action ‘might be considered sound

trial strategy.’”   Id. at 687 (internal citations omitted).

Moreover, “strategic choices made after thorough investigation of

law and facts relevant to plausible options are virtually

unchallengeable.”   Id. at 690.

     The element of prejudice requires a demonstration that “the

possibility of a different outcome must be substantial” though it

does not require that counsel’s conduct more likely than not

altered the case’s outcome.    Ouber v. Guarino, 293 F.3d 19, 25-26

(1st Cir. 2002) (citing Strickland, 466 U.S. at 693).

     C.   Failure to Subpoena Witnesses

     Osorio argues that his defense counsel was deficient in

allegedly failing to subpoena witnesses who could potentially

contradict Cruz’s testimony regarding Osorio’s role in the drug

trafficking and the amounts of money involved.        In his petition,


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Osorio claims counsel failed to subpoena his cousin, Arturo

Catano Garcia, Jorge Catano Garcia, Reinaldo Barriento, and his

wife, Marlene Catano.   Pet’r Mot. at 5-5(a).      Osorio avows that

Barriento could have clarified the quantity of the drugs that he

and Cruz delivered from Queens, New York to Boston,

Massachusetts.   The petition includes an affidavit from Arturo

Catano-Garcia (“Catano Garcia”) stating that Osorio never

delivered any illegal drugs to him through any means, including

through third person delivery.     Id., Ex. A.    Catano Garcia

further attests that he has never had any contact, direct or

indirect, with Alonso Tavarez, and that Osorio did not deliver

drugs to Catano Garcia for the purpose of delivering the

narcotics to Alonso Tavarez.     Osorio’s defense counsel also

represented Arturo.   Id.   Catano Garcia avers that although

counsel communicated to him that he would legally certify

Arturo’s statement about Osorio’s role and enter it in Osorio’s

case, counsel did not submit such a document to the Court.         Id.

Osorio’s petition also includes an affidavit from his co-

defendant Arango.   Id., Ex. B.    Arango attests that Osorio

introduced Cruz to him for the sole purpose of facilitating money

transfers from the United States to Colombia.       Id.

     A petitioner has the right under the Sixth Amendment to call

witnesses “whose testimony is ‘material and favorable to his

defense.’”   Rock v. Arkansas, 483 U.S. 44, 52 (1987).        If


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petitioner alleges that his counsel acted in error in failing to

subpoena witnesses, he must overcome the Strickland strong

presumption that the decision was legal strategy.           466 U.S. at

687.    “[A] defendant must allege and demonstrate that his

counsel’s error clearly ‘resulted from neglect or ignorance

rather than from informed, professional judgment.’”           Barrett v.

United States, 965 F.2d 1184, 1193 (1st Cir. 1992) (quoting

United States v. Bosch, 584 F.2d 1113, 1121 (1st Cir.

1978)(emphasis in original)).

       Osorio does not allege that his counsel failed to

investigate alibi or rebuttal witnesses out of negligence or

ignorance.     Nor does he allege that defense counsel’s strategy

resulted from any failure to conduct a “thorough investigation of

law and facts,” as required by Strickland, 466 U.S. at 690.

       There is little reason for the Court to suspect counsel’s

failure to present these witnesses was anything other than a

tactical decision.      The fact that counsel also represented Catano

Garcia and allegedly discussed Osorio’s case with him supports a

reasonable inference that counsel’s decision not to subpoena

these witnesses was strategic.        The decision whether to call a

particular witness involves the weighing of risks and benefits;

it is “almost always strategic.”          Lema v. United States, 987 F.2d

48, 55 (1st Cir. 1993).       Moreover, “the availability of the

putative testimony was problematic at best.”          Id. at 54 (finding


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petitioner’s ineffectiveness of counsel claim for failure to call

co-conspirator to the stand is weakened where co-conspirator’s

testimony may not have been available to petitioner without that

co-conspirator waiving his own Fifth Amendment right against

self-incrimination).   Although Osorio has obtained a supporting

affidavit from his co-defendant for this proceeding, the Court

cannot assume that Arango would have waived his Fifth Amendment

privilege in advance of his own sentencing to testify on Osorio’s

behalf.   Id. at 55 n.6.    Even taking all of Osorio’s allegations

as true, petitioner fails to demonstrate that his attorney was

deficient in making a strategic choice not to call these

witnesses.

     Furthermore, Osorio fails to demonstrate prejudice.         Even

taking the affidavits as true, neither of them address the basis

for Osorio’s sentence.     The Court made its findings of facts

based on Cruz’s testimony.    Neither of these affidavits undermine

Cruz’s testimony about transporting narcotics under Osorio’s

direct supervision and on his behalf.      In addition, these

affidavits do not counter the testimony of law enforcement

officials and the documentary evidence that corroborated Cruz’s

testimony about Osorio’s involvement in the narcotics and money

laundering operations.     The decision to present a witness’s

testimony must be evaluated “in light of whatever trial strategy

reasonably competent counsel devised in the context of the


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particular case.”    Lema, 987 F.2d at 55.     If, in light of an

informed professional judgment, a particular defense is

implausible or unsubstantial as matter of law, counsel is not

deficient for failing to pursue it.      Id.

     D.    Failure to Prepare Defendant to Testify on His Own

           Behalf

     In addition to asserting that defense counsel failed to

subpoena witnesses, Osorio contends that counsel refused to

permit him to testify on his own behalf during the evidentiary

hearing.   He asserts that although he indicated to counsel that

he wanted to testify, counsel discouraged him from testifying and

did not prepare him to take the stand.

     A criminal defendant has a constitutional right to testify

on his own behalf.   Rock, 483 U.S. at 51-53.      The Supreme Court

has held that should a defendant decide it is to his benefit to

do so, the right to testify on his own behalf is “[l]ogically

included” in the accused’s Sixth Amendment right to call

witnesses whose testimony are material and favorable to his own

defense.   Id. at 52.    This right to testify “may not be waived by

counsel acting alone.”    Owens v. United States, 483 F.3d 48, 58

(1st Cir. 2007).

     Osorio claims that his constitutional right to testify on

his own behalf was infringed.     His own account of counsel’s

discussion with him about testifying does not, however, support


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his contention.    A petitioner may not proceed to an evidentiary

hearing based on a mere conclusory allegation that his attorney

prevented him from testifying on his own behalf where his

allegations are not highly specific and lack any independent

corroboration.    See Siciliano v. Vose, 834 F.2d 29, 30-31 (1st

Cir. 1987) (holding petitioner was not entitled to an evidentiary

hearing on the allegation that his attorney prevented him from

testifying against his wishes where affidavit and record

indicated that petitioner knew he could speak but perhaps counsel

strongly advised against it).     Here, as in Siciliano, the

petitioner’s affidavit and the record suggests that he knew that

he could testify but was strategically dissuaded from so doing by

defense counsel.   Based on Osorio’s own account, counsel pointed

out to him that although he might testify on his own behalf, it

was unadvisable and potentially self-incriminating.        Pet’r Mot.

at 6(a).   “Mr. M. Leppo during the 14 fourteen days of the

evidenciary [sic] Hearing notified Dario Osorio that he can say

whatever he want [sic] but be carefull [sic] because everything

you say can be used against you.”      Id.   According to his own

statement, counsel’s decision not to put Osorio on the stand was

an informed, strategic judgment.

     Moreover, Osorio does not allege that counsel compelled him

to waive his right to testify.     There is no evidence in the

record or proffered by Osorio that counsel attempted to coerce


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Osorio’s testimonial decision.     “Unaccompanied by coercion, legal

advice concerning exercise of the right to testify infringes no

right.”   Lema, 987 F.2d at 52.    Osorio may not prevail on an

ineffective assistance of counsel claim where upon advice of

counsel, he knowingly, if reluctantly, chose not to testify in

his own defense.   Id.

     E.    Failure to Move to Strike the Additional Factor

     As a third basis for his ineffective assistance claim,

Osorio argues that counsel failed to move to strike the “Notice

of Additional Factors” section in the Fourth Superseding

Indictment.   Pet’r Mot. at 8.    Petitioner mischaracterizes the

record.   The record demonstrates that counsel moved to strike

this surplus language in the fourth superseding indictment.

[Doc. No. 629.]    The Court agreed and entered an order on March

10, 2005 granting the motion to strike the language.        It is self-

evident that a claim for ineffectiveness of counsel falters where

counsel was successful.

     F.    Failure to Inform Petitioner of the Potential Fine

     Osorio’s next claim is that counsel failed to advise him of

the potential fine that was imposed upon him at the time of

sentencing.   Even had counsel failed to advise Osorio that he

could face a fine as part of his disposition, such a failure

would not rise to the level of ineffective assistance.

     With regard to pleas, the first half of the Strickland


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standard test is measured by whether the performance fell “below

an objective standard of reasonableness.”       Id. at 687-88.     The

prejudice requirement focuses on whether the allegedly deficient

performance affected the outcome of the plea process.         “In other

words, in order to satisfy the ‘prejudice’ requirement, the

defendant must show that there is a reasonable probability that,

but for counsel’s errors, he would not have pleaded guilty and

would have insisted on going to trial.”      Hill v. Lockhart, 474

U.S. 52, 59 (1985).

        Osorio does not allege that he would not have pleaded guilty

had he known about the fines.     When Osorio changed his plea, the

Court specifically advised Osorio of the potential maximum fines

and special assessments for each of the counts in the superseding

indictment individually and Osorio confirmed that he understood

the penalty.    Change of Plea Tr. 18:10-20:11.     Based on the

record and his own allegations, Osorio cannot demonstrate a

reasonable probability that but for the alleged error of counsel

to inform him of the fine, he would not have entered a guilty

plea.    Hill, 474 U.S. at 59.   He fails the second prong of the

Strickland analysis and therefore cannot maintain an ineffective

assistance of counsel claim on this basis.

        Osorio also contends that his counsel was ineffective

because he failed to object to the imposition of the fine.         Pet’r

Mot. at 9.    This argument is belied by the record.      During the


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sentence, counsel implored the Court not to impose a fine on

Osorio, stating, “I would ask the Court to find that Mr. Osorio

does not have any money, and, therefore, if a fine is imposed

that it be done without any interest so that that will not become

a factor if and when he ever can pay a fine."       Sentencing Tr.

55:18-22, Jan. 30, 2006 (“Sentencing”).      Counsel’s assistance is

not ineffective merely because his efforts were unsuccessful.

Natanel, 938 F.2d at 309-10 (noting that there is no

constitutional right to a successful defense).

     G.     Failure to Request Downward Departures

     Osorio claims that defense counsel provided ineffective

assistance at his sentencing, alleging counsel failed to request

departures based on: (1) his pre-trial conditions of confinement,

(2) his allegedly minor role in the criminal activity, and (3)

the fact that he will be deported upon completion of his

sentence.   Pet’r Mot. at 10-10(a).     Osorio’s recollection is

contradicted by the record where counsel asserted each and every

one of these claims.     Counsel discussed the intense conditions of

Osorio’s pre-trial confinement in Colombia and his subsequent

isolation in a Plymouth correctional facility.        Sentencing Tr.

56:11-18.   Counsel described in detail the stark isolation Osorio

endured during these three years secluded from family and even

other prisoners.   Id.    As to his role in the criminal operations,

counsel consistently maintained that Osorio did not have a


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leadership role in the criminal activity.       Counsel argued that

Osorio was being held responsible though he was “an introducer”

of the co-conspirators rather than a leader.       Evidentiary Hr’g

Tr. at 65:7-14.    In addition, Counsel requested the Court

consider applying a sentence below the guidelines range given

that Osorio will inevitably be deported after his prison sentence

is concluded.    Sentencing Tr. at 55:23-56:3.     Osorio cannot

sustain an ineffectiveness of counsel claim where his attorney

made stalwart but unsuccessful arguments to the Court.         See

Oliveras, 717 F.2d at 3-4 (“tactical decisions, whether wise or

unwise, successful or unsuccessful, cannot ordinarily form the

basis of a claim of ineffective assistance.”).

     H.      Involuntary Guilty Plea and Alleged Plea Agreement

     Osorio claims that his plea was involuntary and not of his

free will.    He maintains that co-conspirators were threatening

him and his family in order to pressure him to plead guilty.           He

also asserts that defense counsel promised him a plea agreement

with the prosecution.    Osorio further alleges that he was induced

to plead because he was being threatened by the other co-

conspirators in the drug and money laundering scheme.

     Osorio claims counsel told him that he had a “deal” for him

to serve a twelve year, seven month sentence.       Osorio asserts

that he unwillingly entered into an Alford plea to Count III

based on a conversation with his attorney who deceived him.


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Osorio claims that defense counsel told him that he needed to

plead guilty to distributing five kilograms of cocaine and that

he would receive departures from the sentencing guidelines.

Pet’r Mot. at 11.

     The Court asked Osorio at his change of plea hearing whether

anyone made promises to him to get him to enter his change of

plea and whether anyone was forcing him to plead guilty.         Change

of Plea Tr. 16:15-22.   Both times Osorio answered in the

negative.   Id.   Furthermore, the Court explained that although

Leppo may have given Osorio his best estimate for the likely

sentencing, the Court’s determination “may be different from the

estimate Mr. Leppo has given you, and on that basis my

determination of what sentence to impose may be different from

the sentence he has estimated for you.”      Change of Plea Tr. at

21:17-22.   Osorio confirmed that he understood.       Id.

Petitioner’s own statements on the record contradict his

assertions that his plea was involuntary or that he pled guilty

on the basis of a promised plea agreement.       Where proceeding

transcripts demonstrate that the petitioner was aware that the

judge was not a party to any purported agreement, the Court may

properly deny the claim without an evidentiary hearing.         See

United States v. Butt, 731 F.2d 75, 80 (1st Cir. 1984) (holding

petitioner failed to reasonably substantiate his ineffective

assistance of counsel claim with any material issues of fact and


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thus did not overcome the “presumption of regularity” imported by

the record in which the court undertook detailed inquiry of the

petitioner's understanding of consequences of the plea).           Having

reviewed the actual record, this Court is satisfied that Osorio’s

plea was voluntary and was not induced by any claimed ineffective

assistance of counsel.

IV.   Conclusion

      Each of Osorio’s allegations are contradicted by the record

or fail to state a claim for relief under Section 2255.

Accordingly, Osorio is not entitled to an evidentiary hearing.

David, 134 F.3d at 477.      For the foregoing reasons, Osorio’s

petition is denied.



SO ORDERED.

                                   /s/ William G. Young
                                   WILLIAM G. YOUNG
                                   DISTRICT JUDGE




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